  [NOT FOR PUBLICATION--NOT TO BE CITED AS PRECEDENT]
             United States Court of Appeals
                 For the First Circuit

No. 97-2349

                     RONALD J. KOGUT,

                  Plaintiff, Appellant,

                            v.

                DR. BERNARD KATZ, ET AL.,

                  Defendants, Appellees.

       APPEAL FROM THE UNITED STATES DISTRICT COURT

            FOR THE DISTRICT OF MASSACHUSETTS

       [Hon. William G. Young, U.S. District Judge]

                          Before

                 Torruella, Chief Judge,
            Selya and Stahl, Circuit Judges.

 Ronald J. Kogut on brief pro se.
 Bruce R. Henry and Morrison, Mahoney &amp;amp; Miller on brief for
appellees Katz and Neitlich.
 Nancy Ankers White, Special Assistant Attorney General, and
Michael H. Cohen, Supervising Counsel, on brief for appellees
Centola, Nelson and Brady.

September 22, 1998

       Per Curiam.  Plaintiff Ronald Kogut, a Massachusetts
inmate, claims that his Eighth Amendment rights were violated
when, upon his transfer from the Bridgewater State Hospital
(BSH) to a county jail in Northampton, he was unable to obtain
copies of his BSH medical records.  He alleges that treatment
of his various psychological ailments was thereby disrupted--
resulting in a suicide attempt, severe depression, sleep
deprivation, and other impairments.  The instant pro se action,
brought under 42 U.S.C.  1983 against five BSH officials,
followed.  In due course, the district court dismissed the
complaint for failure to state a claim.  We affirm.
    Little discussion is required.  With respect to three of
the defendants (Brady, Katz and Neitlich), there has been no
allegation of any personal involvement on their part, whether
direct or otherwise, in the matters at issue here.  This alone
provided a sufficient basis for dismissal of the claims against
them.  See, e.g., Maldonado-Denis v. Castillo-Rodriguez, 23
F.3d 576, 581-82 (1st Cir. 1994). 
    With respect to the remaining two defendants (Nelson, the
BSH superintendent, and Centola, the BSH records keeper), no
showing of "deliberate indifference" has been made.  This
standard requires a state of mind akin to criminal
recklessness--i.e., that the official knew of and consciously
disregarded a substantial risk of serious harm.  See, e.g.,
Farmer v. Brennan, 511 U.S. 825, 837 (1994); Mahan v. Plymouth
County House of Corrections, 64 F.3d 14, 18 (1st Cir. 1995). 
Even with all reasonable inferences drawn in plaintiff's favor,
the allegations in his complaint and supporting papers fall
well short of such a showing--for at least three reasons.  
    First, there has been no suggestion that either Nelson or
Centola was aware of plaintiff's psychological condition, much
less that it might have required close monitoring.  In his
several written requests for his BSH records, for example,
plaintiff never described his ailments or conveyed any sense of
urgency.  Second, even if defendants had learned of his
condition, there is no indication that they would have thereby
been alerted to the need for prompt medical treatment. 
Although plaintiff was eventually treated with lithium at the
jail with positive results, he indicates that, while at BSH, he
was simply given "strong medication to sleep at night"--a
course of treatment that defendants could reasonably assume was
available at the jail.  Compare, e.g., Hudson v. McHugh, 148
F.3d 859, 863-64 (7th Cir. 1998) (finding that claim had been
stated against officials at receiving correctional facility,
but not against those at transferring facility, where required
daily dose of anti-convulsive medicine had been withheld from
inmate for eleven days following transfer despite his repeated
requests, resulting in epileptic seizure).  Finally, from all
that appears, the actions of both Nelson and Centola were
unobjectionable here with regard to plaintiffs requests for his
records.  Nelson simply referred those requests to Centola. 
And Centola properly advised plaintiff that a "witnessed"
request form and a waiver of copying costs (or prepayment
thereof if not indigent) were required.
    We need not address whether defendants' alleged failure to
forward the medical records to the jail officials (as opposed
to plaintiff personally) comported with state law.  See, e.g.,
105 C.M.R.  205.503 (requiring that copy of medical record or
summary sheet "accompany the inmate" upon transfer to another
correctional or health care facility).  Plaintiff has not
argued the point.  And even if one or more of the defendants
might have been negligent in this regard (a matter we do not
decide), no deliberate indifference is apparent under the
circumstances here presented. 
    Affirmed.
